       Case 1:17-cv-01305-FPG Document 11 Filed 03/15/19 Page 1 of 1

Judgment in a Civil Case


                          United States District Court
                      WESTERN DISTRICT OF NEW YORK



     CRAIG CUNNINGHAM,                             JUDGMENT IN A CIVIL CASE
                                                CASE NUMBER: 17-CV-1305-FPG
                       Plaintiff,
            v.

     CHANNER, LLC, ET AL,

                           Defendants.


     ☐ Jury Verdict. This action came before the Court for a trial by jury. The
     issues have been tried and the jury has rendered its verdict.

     ☒ Decision by Court. This action came to trial or hearing before the Court.
     The issues have been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED: that the Plaintiff failed to file amended
     complaint by November 28, 2018. The Clerk of Court is directed to close this
     case without further order.




     Date: March 15, 2019                    MARY C. LOEWENGUTH
                                             CLERK OF COURT

                                             By: s/K,McMillan
                                                 Deputy Clerk
